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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Case No.: 21-CR-677 (TSC)
v. 18 U.S.C. § 231(a)(3)
MOISES ROMERO,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, MOISES ROMERO,
with the concurrence of his attorney, agree and stipulate to the below factuai basis for the
defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the
United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located a First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (“USCP”). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter or
remain in the building and, prior to entering the building, no members of the crowd submitted to
security screenings or weapons checks as required by USCP officers or other authorized security
officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.

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7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

Moises Romero’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, MOISES ROMERO, lives in Florida. On or about January 4,
defendant traveled from Florida to the Washington, D.C. area via plane. The purpose of the
defendant’s trip to Washington, D.C., was to protest Congress’ certification of the Electoral
College.

9. On January 6, at approximately 2:39 p.m., rioters broke windows next to an
entrance to the Capitol located on the west side of the Senate wing of the building (“Senate Wing
Door”). Rioters began streaming into the building through the Senate Wing Door and the
windows to either side. In addition to broken glass littering the area, a piercing building alarm
was sounding.

10. By approximately 2:45 p.m., USCP officers had managed to stop the flow of rioters

and secured the Senate Wing Door and the surrounding windows. Officers created a temporary

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barrier out of wooden displays and placed it in front of the open Senate Wing Door to prevent
rioters from entering the Capitol through that door.

11. At approximately 2:47 p.m., a group of rioters, including ROMERO, gathered in
front of the Senate Wing Door and started pressing against the temporary barrier in an effort to
enter the Capitol. Several USCP officers attempted to push back against the rioters. ROMERO
and the other rioters continued their efforts, pushing the temporary barrier against the USCP
officers. At approximately 2:48 p.m., the rioters, including ROMERO, succeeded in pushing
through and into the Capitol. Once the barrier was broken, additional rioters entered the Capitol
through the Senate Wing Door.

12. Once inside the Capitol, Defendant walked towards the South end of the Capitol
building, occasionally taking photos and/or video with his cellphone. Defendant was inside the
Capitol for approximately 6 minutes, exiting through the South Door at approximately 3:03 p.m.

13. On or about January 7, Defendant posted a video to his Instagram account
containing scenes of himself around and inside the Capitol on January 6. At one point, Defendant
superimposed the phrase “Right before stormed in” over the video.

Elements of the Offense

14. | MOISES ROMERO knowingly and voluntarily admits to all the elements of Civil
Disorder in violation of 18 U.S.C. § 231. Specifically, Defendant admits that he committed, or
attempted to commit, any act to obstruct, impede, or interfere with any law enforcement officers

engaged in the lawful performance of his official duties, incident to, and during the commission

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of a civil disorder, and that the civil disorder obstructed, delayed, or adversely affected commerce

or the performance of any federally protected function.

Respectfully submitted,

MATTHEW M. GRAVES
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DEFENDANT’S ACKNOWLEDGMENT

i, Moises Romero, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.

Date: Sf ii {22
_ (Ea ROMERO

Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: S/ f fee Z LMA.
TODD oo

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